Case 2:18-cv-00192-JRG Document 167 Filed 09/13/19 Page 1 of 4 PageID #: 12232



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                                §
SEMCON IP INC.,                                 §     Case No. 2:18-cv-00192-JRG
                                                §
                          Plaintiff,            §
                                                §     JURY TRIAL DEMANDED
           v.                                   §
                                                §
AMAZON.COM, INC.,                               §
                                                §
                          Defendant.            §
                                                §
                                                §

         PLAINTIFF SEMCON IP INC.’S UNOPPOSED MOTION FOR LEAVE

       Plaintiff Semcon IP Inc. (“Semcon”) respectfully requests the Court’s permission to

allow Semcon to replace its testifying technical expert, Dr. Jaime Carbonell, with Mr. Joseph

McAlexander. Semcon and Defendant Amazon.com, Inc. (“Amazon”) have conferred and

Amazon does not oppose this request.

       Semcon respectfully requests that this Court allow substitution of Mr. McAlexander with

respect to the Asserted Patents previously addressed by Dr. Carbonell. Dr. Carbonell suffers

from a significant medical condition necessitating his replacement. To alleviate this unexpected

circumstance, Semcon and Amazon have conferred and agreed on an unopposed proposal for the

Court’s consideration and approval.

       The proposal, for which Semcon seeks leave, is as follows:

       1. Mr. Joseph McAlexander shall serve as a substitute expert in lieu of Dr. Jaime

           Carbonell;

       2. Mr. McAlexander will adopt in their entirety Dr. Carbonell’s July 2, 2019 opening

           expert report regarding infringement, July 23, 2019 rebuttal expert report regarding
Case 2:18-cv-00192-JRG Document 167 Filed 09/13/19 Page 2 of 4 PageID #: 12233



         validity, and the August 3, 2019 Deposition of Dr. Carbonell (collectively, “Dr.

         Carbonell’s Expert Testimony”). Mr. McAlexander will not offer opinions that go

         beyond the parameters and scope of Dr. Carbonell’s Expert Testimony. Mr.

         McAlexander shall be a replacement for Dr. Carbonell, not an additional expert

         witness;

      3. Given that Mr. McAlexander will adopt Dr. Carbonell’s Expert Testimony, Amazon

         shall not, either at deposition or at trial, inquire as to how Mr. McAlexander would or

         could have done things differently;

      4. Mr. McAlexander shall be presented as a live witness in Semcon’s case-in-chief at

         trial and may be examined by Semcon regarding the opinions set forth in Dr.

         Carbonell’s Expert Testimony;

      5. During trial, Amazon may, where appropriate, attempt to impeach Mr. McAlexander

         using the deposition of Dr. Carbonell;

      6. Amazon is prohibited from presenting testimony from Dr. Carbonell’s deposition in

         its case-in-chief at trial, as Mr. McAlexander will be both present and available at

         trial;

      7. All of Amazon’s Daubert objections as to Dr. Carbonell are preserved for appeal

         without limitation; and

      8. Nothing in this Order precludes Semcon from seeking leave to serve a supplemental

         expert report by Mr. McAlexander addressed to the Amazon products containing

         NXP/Freescale System-on-Chips.




                                               2
Case 2:18-cv-00192-JRG Document 167 Filed 09/13/19 Page 3 of 4 PageID #: 12234



       The Parties respectfully request the Court provide an informative instruction to the jury

explaining Mr. McAlexander’s role as a substitute for Dr. Carbonell at the time he is called as a

witness.

       Semcon seeks this motion for leave for good cause, and not for purposes of delay.



Dated: September 13, 2019                            Respectfully submitted,

                                                     BROWN RUDNICK LLP

                                                     /s/ Alfred R. Fabricant
                                                     Alfred R. Fabricant
                                                     NY Bar No. 2219392
                                                     Email: afabricant@brownrudnick.com
                                                     Peter Lambrianakos
                                                     NY Bar No. 2894392
                                                     Email: plambrianakos@brownrudnick.com
                                                     Vincent J. Rubino, III
                                                     NY Bar No. 4557435
                                                     Email: vrubino@brownrudnick.com
                                                     Shahar Harel
                                                     NY Bar No. 4573192
                                                     Email: sharel@brownrudnick.com
                                                     Enrique W. Iturralde
                                                     NY Bar No. 5526280
                                                     Email: eiturralde@brownrudnick.com
                                                     Daniel J. Shea
                                                     NY Bar No. 5430558
                                                     Email: dshea@brownrudnick.com
                                                     Justine Minseon Park
                                                     NY Bar No. 5604483
                                                     Email: apark@brownrudnick.com
                                                     BROWN RUDNICK LLP
                                                     7 Times Square
                                                     New York, NY 10036
                                                     Telephone: (212) 209-4800
                                                     Facsimile: (212) 209-4801

                                                     ATTORNEYS FOR PLAINTIFF,
                                                     SEMCON IP INC.



                                                3
Case 2:18-cv-00192-JRG Document 167 Filed 09/13/19 Page 4 of 4 PageID #: 12235



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on September 13, 2019, all counsel of record who

are deemed to have consented to electronic service are being served with a copy of this document

via the Court's CM/ECF system per Local Rule CV-5(a)(3).


                                            /s/ Alfred R. Fabricant
                                                Alfred R. Fabricant
